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     SMITH’S FOOD & DRUG CENTERS, INC.
 8   DAVID HUFFER

 9                                  UNITED STATES DISTRICT COURT

10                                        DISTRICT OF NEVADA

11   LINDA SEVERSON,                                   Case No.

12                    Plaintiff,

13   v.

14   SMITH’S FOOD & DRUG CENTERS, INC.,                NOTICE OF REMOVAL
     a Foreign Corporation, d/b/a SMITHS; DON
15   ENGLAND, an Individual; DAVID HUFFER,
     an Individual DOE EMPLOYEE; DOES I
16   through X; and ROE CORPORATIONS I
     through X, inclusive,
17
                      Defendants.
18

19           Defendants, SMITH’S FOOD & DRUG CENTERS, INC. (“SMITH’S”) and DAVID

20   HUFFER (“HUFFER”), hereby give notice of their removal of Case No. A-20-826252-C from the

21   Eighth Judicial District Court, Clark County, Nevada, to this Court. This Notice of Removal is filed

22   pursuant to 28 U.S.C. §§1441(a) and 1446. As grounds for removal, Defendants state as follows:

23                                                    I.

24                                  NOTICE OF REMOVAL IS TIMELY

25           1.       On September 10, 2020, Plaintiff, LINDA SEVERSON, originally filed this lawsuit

26   against SMITH’S and one of its employees, JASON SONNENBURG (“SONNENBURG”), a

27   Nevada resident. Because SONNENBURG had no independent negligence, was not even working

28   at the SMITH’S store when the alleged accident occurred and was only being sued because he was a


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 1   Nevada resident, which would destroy complete diversity of citizenship, Defendants removed this

 2   case to federal court on October 15, 2020—Case No. 2:20-cv-01916-JCM-NJK.

 3            On October 19, 2020, SONNENBURG filed a Motion to Dismiss or, in the alternative,

 4   Motion for Summary Judgment.1 Before the Court could make a decision on the motion, on

 5   November 2, 2020, Plaintiff filed a Motion for Voluntary Dismissal Without Prejudice.2 The Court

 6   granted Plaintiff’s Motion for Voluntary Dismissal Without Prejudice on December 4, 2020. 3

 7            On December 11, 2020, Plaintiff filed a Complaint in state court against SMITH’S, HUFFER

 8   and an individual named DON ENGLAND. According to the Complaint, DON ENGLAND was a

 9   manager at SMITH’S when the accident occurred. Yet no person worked at the SMITH’S store

10   where the subject accident occurred with that name. Pursuant to 28 U.S.C. §1446(a), a complete

11   copy of the state court file, including the Complaint and process, is attached hereto as Exhibit “A”.

12            2.       HUFFER was served with process on or about December 22, 2020.

13            3.       SMITH’S was served with process on or about December 28, 2020.

14            4.       The Complaint filed and served on SMITH’S contains a prayer for relief for “General

15   damages in an amount in excess of $15,000.00;”. (Compl. at p. 6).

16            5.       Before litigation was filed in Nevada State Court, Plaintiff’s attorney sent a letter to

17   SMITH’S Third-Party Claim Administrator dated February 5, 2020. Therein, Plaintiff itemized

18   medical expenses in the total amount of $175,893.36. A copy of the demand letter dated February 5,

19   2020 is attached hereto as Exhibit “B”. Based upon the amount of medical bills allegedly related to

20   this accident/litigation, Defendants believe that the “amount in controversy” exceeds the

21   jurisdictional minimum for diversity jurisdiction.

22            6.       This Notice of Removal is timely filed under 28 U.S.C. §1446(b), which provides:

23                     If the case stated by the initial pleading is not removable, a notice of
                       removal may be filed within thirty days after receipt by the defendant,
24                     through service or otherwise, of a copy of an amended pleading,
                       motion, order or other paper from which it may first be ascertained th
25

26   1
         ECF No. 6.
27   2
         ECF No. 9.
     3
28       ECF No. 14.

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 1                    at the case is one which is or has become removable, except that a case
                      may not be removed on the basis of jurisdiction conferred by section
 2                    1332 of this title more than 1 year after commencement of the action.

 3           7.       The following pleadings have been entered and/or filed in State Court:

 4                    a.     Plaintiff’s Complaint filed December 11, 2020;

 5                    b.      Affidavit of Service for HUFFER filed December 29, 2020; and

 6                    c.     Affidavit of Service for SMITH’S filed December 29, 2020.

 7           8.       Other than the pleadings discussed above, no further proceedings have taken place in

 8   District Court, Clark County, Nevada as of the filing of this notice of removal.

 9                                                       II.

10                                   DIVERSITY JURISDICTION EXISTS

11           9.       This is a civil action over which this Court has original jurisdiction pursuant to 28

12   U.S.C. §1332. This action may be removed pursuant to 28 U.S.C. §1441, because the amount in

13   controversy exceeds $75,000, exclusive of interest and costs; the suit involves a controversy between

14   citizens of different states; and none of the properly joined defendants is a citizen of Nevada.

15                    A.     The Amount in Controversy Requirement is Satisfied.

16           10.      The Complaint filed and served on SMITH’S contains a prayer for relief for “General

17   damages in an amount in excess of $15,000.00;”. (Compl. at p. 6).

18           11.      Plaintiff’s demand letter of February 5, 2020, indicates that Plaintiff has incurred

19   medical expenses in the amount of $175,893.36. (See Exhibit “B”).

20                    B.     The Parties Are Diverse.

21           12.      The diversity of citizenship requirement is satisfied. Defendants are informed and

22   believe that Plaintiff was at the time of her Complaint a citizen and resident of the State of Nevada.

23   (See Compl. ¶1) .

24           13.      SMITH’S was at the time of the filing of Plaintiff’s Complaint and is now an Ohio

25   Corporation with its principal place of business in the State of Utah.

26           14.      Under Nevada law, only an entity with ownership, possession, or control of a

27   particular premises may be held liable under a negligence theory for personal injury caused by

28   hazardous condition existing on that premises. See Sprague v. Lucky Stores, Inc., 109 Nev. 247, 250


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 1   (Nev. 1993) (“[A] business owes its patrons a duty to keep the premises in a reasonably safe

 2   condition for use.” (emphasis added); see also Hall v. SSF, Inc., 112 Nev. 1384, 1393 (Nev. 1996)

 3   (“In Nevada, a proprietor owes a general duty to use reasonable care to keep the premises in a

 4   reasonably safe condition for use.”) (citing Moody v. Manny’s Auto Repair, 110 Nev. 320, 331-33

 5   (Nev. 1994)); see also Worth v. Reed, 79 Nev. 351, 354 (Nev. 1963) (“[A]n owner owes an invitee

 6   the duty of ordinary care.”) (citing Nevada Transfer & Warehouse Co. v. Peterson, 60 Nev. 87, 90

 7   (Nev. 1939)) (emphasis added); see also Asmussen v. New Golden Hotel Co., 80 Nev. 260, 262

 8   (Nev. 1964) (“[A] proprietor owes his invited guests a duty to keep the premises in a reasonably safe

 9   condition for use.”) (citing Doud v. Las Vegas Hilton Corp., 109 Nev. 1096, 1101 (Nev. 1993))

10   (emphasis added). Further, it is clear under Nevada law that an employer cannot delegate the duty to

11   maintain the premises in a reasonably safe condition to an employee. Cutler v. Pittsburg Silver Peak

12   Gold Mining Co., 116 P. 3d 418, 422 (“The employer cannot delegate this duty [to exercise care,

13   diligence, and caution] to another and thereby free himself from responsibility.”) (emphasis added).

14           15.      HUFFER was at the time of the filing of Plaintiff’s Complaint and is now a citizen

15   and resident of the State of Nevada. However, HUFFER is a sham Defendant named only to defeat

16   diversity of citizenship jurisdiction. Under the Fraudulent Joinder Doctrine, HUFFER’S citizenship

17   should be ignored.

18           16.      “DON ENGLAND” was not and never has been an employee at the SMITH’S store

19   where the alleged accident occurred. Therefore, DON ENGLAND is a fictitious defendant and his

20   alleged citizenship should be ignored. "In determining whether a civil action is removable on the

21   basis of jurisdiction under [§] 1332(a) . . . the citizenship of defendants sued under fictitious names

22   shall be disregarded." 28 U.S.C. § 1441(b)(1).

23                                                      III.

24                           REMOVAL TO THIS JURISDICTION IS PROPER

25           17.      Pursuant to 28 U.S.C. §§1332, 1441, and 1446, removal of the above-captioned state

26   court action to this Court is appropriate.

27           18.      Pursuant to 28 U.S.C. §1441(a), removal is made to this Court as the district and

28   division embracing the place where the state action is pending 28 U.S.C. §108.


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 1           19.      Defendants reserve the right to amend or supplement this Notice of Removal.

 2           20.      Defendants reserve all defenses, including, without limitation, the defense of lack of

 3   personal jurisdiction.

 4           21.      Defendants request a trial by jury of all issues.

 5           22.      Defense counsel is providing Plaintiff, by and through her counsel, written notice of

 6   the filing of this Notice of Removal as required by 28 U.S.C. §1446(d). Further, Defense counsel is

 7   filing a copy of this Notice of Removal with the Clerk of the Eighth Judicial District Court, Clark

 8   County, Nevada, where the action is currently pending.

 9           Dated this 21st day of Janaury, 2021.

10                                                COOPER LEVENSON, P.A.
11

12                                                By   /s/ Jerry S. Busby
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16                                                     SMITH’S FOOD & DRUG CENTERS, INC.
                                                       DAVID HUFFER
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